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           IN THE UNITED ST ATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    NORTHERN DIVISION

CANDIE DEPRIEST, Individually and on
Behalf of All Others Similarly Situated                           PLAINTIFF

v.                       No. 3:22-cv-65-DPM

LOGAN CENTERS, INC.                                            DEFENDANT
                                ORDER
     Depriest filed her lawsuit on 15 March 2022. No summonses have
been issued and Logan Centers has not appeared or waived service.
The ninety days for service haven't yet expired.        FED.   R. CIV. P. 4(m).
The motion for conditional certification, Doc. 6, is therefore denied
without prejudice as premature.
     So Ordered.

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                                  D .P. Marshall Jr.
                                  United States District Judge
